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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 22-64 (RBW)
                                     )
LLOYD CASIMIRO CRUZ, JR.,            )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

August 30, 2022, via teleconference, it is hereby

       ORDERED that (1) the government shall file its opposition to the Defendant’s Motion to

Suppress Evidence and to Dismiss Due to Fourth Amendment Violation, ECF No. 34, on or

before September 23, 2022, and (2) the defendant shall file his reply in support of his motion on

or before October 7, 2022. It is further

        ORDERED that (1) the defendant shall file his forthcoming motion to dismiss pursuant

to the First Amendment to the United States Constitution on or before September 2, 2022; (2) the

government shall file its opposition to the defendant’s forthcoming motion on or before

September 23, 2022; and (3) the defendant shall file his reply in support of his motion on or

before October 7, 2022. It is further

       ORDERED that the deadlines related to the defendant’s change of venue motion and any

other motions requiring expedited resolution in the Court’s August 5, 2022 Pre-Trial Scheduling

Order, ECF No. 30, are VACATED. It is further

       ORDERED that the Court’s August 5, 2022 Pre-Trial Scheduling Order, ECF No. 30,

otherwise remains in effect. It is further
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       ORDERED that, at the pre-trial conference scheduled for December 12, 2022, at

10:00 a.m., the parties shall be prepared to address the Defendant’s Motion to Suppress Evidence

and to Dismiss Due to Fourth Amendment Violation, ECF No. 34, and the defendant’s

forthcoming motion to dismiss. It is further

       ORDERED that the time from August 27, 2022, to December 12, 2022, is excluded

under the Speedy Trial Act, in light of the filing of the Defendant’s Motion to Suppress Evidence

and to Dismiss Due to Fourth Amendment Violation, ECF No. 34.

       SO ORDERED this 31st day of August, 2022.



                                                            ________________________
                                                            REGGIE B. WALTON
                                                            United States District Judge




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